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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                         :
                                                 :
       v.                                        :    Criminal No. 21 CR 103 (CJN)
                                                 :
ROBERT KEITH PACKER                              :

                    CONSENT MOTION TO CONTINUE SENTENCING

       COMES NOW defendant, Robert Keith Packer, through undersigned counsel, Stephen F.

Brennwald, in support of this Consent Motion to Continue Sentencing, states as follows:

       1. Defendant pled guilty to a charge of “parading” in the United States Capitol, and is

            scheduled to be sentenced on April 7, 2022.

       2. The initial draft of the presentence report is set to be submitted by the United States

            Probation Office on Friday, February 25, 2022.

       3. Unfortunately, undersigned counsel has been unable to undertake the necessary steps

            that the probation office needs him to undertake in order to be in a position to prepare

            the initial report. Part of the issue is the distance between Mr. Packer and

            undersigned counsel, part is due to counsel’s schedule, and part is the result of

            technical problems when undersigned counsel met in person with Mr. Packer.

       4. The parties have made progress on this case since the time of the plea, however, as

            they have met and fulfilled the defendant’s obligations listed in paragraph 3 of the

            plea agreement.

       5. Unfortunately, because of technical problems, as noted above, when undersigned

            counsel met with the defendant in person (in reference to the matter discussed in

            paragraph 4, above), he was not able to complete the lengthy questionnaire that the
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             probation officer provided to counsel - a questionnaire that the probation office needs

             in order to prepare the presentence report. 1

         6. Counsel will complete that questionnaire within the next week or so, and provide it to

             the probation office. At that point, the office will likely need at least three weeks to

             incorporate the material in the questionnaire into its initial presentence report, submit

             that report to the parties, await any objections, and then prepare the final report.

         7. That process should take about four to six weeks.

         8. Out of an abundance of caution, defendant suggests that sentencing be deferred for

             about six weeks.

         9. The United States consents to this motion.

         10. The probation office obviously consents, as it has contacted counsel regularly over

             the past several weeks to inquire about the filing of a motion to postpone sentencing.

             WHEREFORE, in light of the foregoing, and for any other reasons that may appear to

             this Court, defendant prays that the Court postpone sentencing in this case for four to

             six weeks, and for any other relief this Court deems proper. The parties will confer

             with this Court’s courtroom clerk to clear a date for sentencing.




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  In over 35 years of practice, counsel has never been asked to prepare such a questionnaire, but he is happy to do so,
in accordance with what appears to be a new practice in the United States Probation Office.
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                                                Respectfully submitted,

                                                       /s/

                                                ________________________________
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing motion was sent, by ECF, this 24th
day of February, 2022, to all parties of record.


                                                       /s/
                                                _______________________________
                                                Stephen F. Brennwald




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